 Debtor      Tracey Donnell Houston
 United States Bankruptcy Court for the                              MIDDLE DISTRICT OF TENNESSEE                      Check if this is an
                                                                            [Bankruptcy district]                      amended plan
 Case number:


Chapter 13 Plan
 Part 1:      Notices

To Debtor(s): This form sets out options that are appropriate in some cases but not in others. The presence of an option does not indicate
              that the option is appropriate in your circumstances.

To Creditors: Your rights are affected by this plan. Your claim may be reduced, modified, or eliminated.

                      If you oppose the treatment of your claim or any provision of this plan, you or your attorney must file an objection to confirmation at
                      least 5 days before the meeting of creditors or raise an objection on the record at the meeting of creditors. The Bankruptcy Court may
                      confirm this plan without further notice if no timely objection to confirmation is made. In addition, a timely proof of claim must be
                      filed before your claim will be paid under the plan.

                      Debtor(s) must check one box on each line to state whether the plan includes each of the following items. If an item is not
                      checked as “Included” or if both boxes are checked, the provision will not be effective if set out later in the plan.

 1.1         A limit on the amount of a secured claim, set out in § 3.2, which may result in partial              Included                   Not Included
             payment or no payment to the secured creditor.
 1.2         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                  Included                   Not Included
             set out in § 3.4.
 1.3         Nonstandard provisions, set out in Part 9.                                                           Included                   Not Included


 Part 2:      Plan Payments and Length of Plan

2.1 Debtor(s) will make payments to the trustee as follows:

 Payments made              Amount of each                 Frequency of      Duration of          Method of payment
 by                         payment                        payments          payments
    Debtor 1                $514.00                        Bi-Weekly         60        months       Debtor will make payment directly to trustee
    Debtor 2                                                                                         Debtor consents to payroll deduction from:
                                                                                                  Metro Water
                                                                                                  Attn: Payroll
                                                                                                  1600 2nd Ave N
                                                                                                  Nashville, TN 37208
Insert additional lines as needed.

2.2 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:



2.3 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.3 need not be completed or reproduced.

2.4 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.3 is 100%.

 Part 3:      Treatment of Secured Claims

3.1 Maintenance of payments and cure of default. Check one.

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                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security and claim modification. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3 Secured claims excluded from 11 U.S.C. § 506. Check one.

                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                          The claims listed below were either:

                          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                              acquired for the personal use of the debtor(s), or
                          (2) incurred within 1 year before the petition date and secured by a purchase money security interest in any other thing of value.

                          These claims will be paid in full through the trustee as stated below. The claim amount stated on a proof of claim filed in
                          accordance with the Bankruptcy Rules controls over any contrary amount listed below.

                          If relief from the automatic stay is ordered as to any collateral listed below, all payments under this section to creditors secured
                          by that collateral will cease.

 Name of Creditor                    Collateral                             Amount of claim                  Interest rate         Monthly plan payment
 Santander                           2018 Nissan Rogue 16,000                                                                                      $552.38
 Consumer USA                        miles                                  $20,000.00                                22.00%                      (Class 3)

Insert additional claims as needed.

3.4 Lien avoidance. Check one.
                  None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral. Check one.
                  None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Priority Claims (including Attorney’s Fees and Domestic Support Obligations)

4.1 Attorney's fees.

The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,250.00 (Class 3). The remaining fees and any additional fees
that may be awarded shall be paid through the trustee as specified below. Check one.

         The attorney for the debtor(s) shall receive a monthly payment of $400.00 (Class 3).

         The attorney for the debtor(s) shall receive available funds.

4.2 Domestic support obligations.

             (a) Pre- and postpetition domestic support obligations to be paid in full. Check one.
                       None. If “None” is checked, the rest of § 4.2(a) need not be completed or reproduced.

             (b) Domestic support obligations assigned or owed to a governmental unit and paid less than full amount. Check one.
                     None. If “None” is checked, the rest of § 4.2(b) need not be completed or reproduced.



4.3 Other priority claims. Check one.
                   None. If “None” is checked, the rest of § 4.3 need not be completed or reproduced.
                   The priority claims listed below will be paid in full through the trustee. Amounts stated on a proof of claim filed in accordance
                   with the Bankruptcy Rules control over any contrary amounts listed below.
          Name of Creditor                                                            Estimated amount of claim to be paid
          US Bankruptcy Court Clerk                                                   $310.00 (Classes 1 & 2)

             Insert additional claims as needed.

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 Part 5:      Treatment of Nonpriority Unsecured Claims and Postpetition Claims

5.1 Nonpriority unsecured claims not separately classified.

     Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
     providing the largest payment will be effective. Check all that apply.
             The sum of $
                100.00 % of the total amount of these claims. (Class 4)
             The funds remaining after disbursements have been made to all other creditors provided for in this plan.




5.2 Interest on allowed nonpriority unsecured claims not separately classified. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.



5.3 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

5.4 Separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.

5.5 Postpetition claims allowed under 11 U.S.C. § 1305.

     Claims allowed under 11 U.S.C. § 1305 will be paid in full through the trustee. (Class 5)

 Part 6:      Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
    unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
                          Assumed contracts or leases. Current installment payments will be disbursed by the trustee or directly by the debtor, as
                          specified below. Arrearage payments will be paid in full through the trustee. Amounts stated on a proof of claim filed in
                          accordance with the Bankruptcy Rules control over any contrary amounts listed below as to the installment payment and
                          arrearage.

 Name of Creditor              Description of leased property or executory contract         Current installment              Amount of arrearage to be
                                                                                            payment                          paid

 Freeman Webb
 Company                       Residential                                                                     $800.00                                    $0.00
                                                                                            Disbursed by:
                                                                                               Trustee
                                                                                               Debtor(s)
 Xfinity Mobile                CELL                                                                              $92.50                                   $0.00
                                                                                            Disbursed by:
                                                                                               Trustee
                                                                                               Debtor(s)

Insert additional claims as needed.

 Part 7:      Order of Distribution of Available Funds by Trustee

7.1 The trustee will make monthly disbursements of available funds in the order specified. Check one.
      Regular order of distribution:

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     a. Filing fees paid through the trustee

     b. Current monthly payments on domestic support obligations

     c. Other fixed monthly payments

        If available funds in any month are not sufficient to disburse all fixed monthly payments due under the plan, the trustee will allocate available
        funds in the order specified below or pro rata if no order is specified. If available funds in any month are not sufficient to disburse any current
        installment payment due under § 3.1, the trustee will withhold the partial payment amount and treat the amount as available funds in the
        following month.



        Insert additional lines as needed.

     d. Disbursements without fixed monthly payments, except under §§ 5.1 and 5.5

        The trustee will make these disbursements in the order specified below or pro rata if no order is specified.



        Insert additional lines as needed.

     e. Disbursements to nonpriority unsecured claims not separately classified (§ 5.1)

     f. Disbursements to claims allowed under § 1305 (§ 5.5)

         Alternative order of distribution:


        1. Filing Fee
        2. Notice Fee
        3. Monthly Payments on Secured Debts/Attorney's Fees
        4. General Unsecured Claims
        5. §1305 Claims


        Insert additional lines as needed.

 Part 8:      Vesting of Property of the Estate

8.1 Property of the estate will vest in the debtor(s) upon discharge or closing of the case, whichever occurs earlier, unless an alternative
    vesting date is selected below. Check the applicable box to select an alternative vesting date:
    Check the appliable box:
           plan confirmation.
           other: Entry of Discharge

Part 9: Nonstandard Plan Provisions
Nonstandard provisions are required to be set forth below.

These plan provisions will be effective only if the applicable box in § 1.3 is checked.

Adequate Protection Payments:
Santander @ $25.00


 Part 10: Signatures:

 X   /s/ Mary Beth Ausbrooks                                                  Date November 19, 2019
     Mary Beth Ausbrooks
 Signature of Attorney for Debtor(s)
     /s/ Tracey Donnell Houston                                               Date   November 19, 2019

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 X
       Tracey Donnell Houston

 X                                                                            Date

Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies) that the
wording and order of the provisions in this Chapter 13 plan are identical to those contained in the form required under the Local Rules for
the Bankruptcy Court for the Middle District of Tennessee, other than any nonstandard provisions included in Part 9.




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